Case 2:19-cr-00642-VAP Document 276 Filed 11/13/20 Page 1 of 2 Page ID #:5280




  1                                                                          FILED
                                                                   CLERK, U.S. DISTRICT COURT

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                                                                       NOV. 13, 2020
  3
                                                                 CENTRAL DISTRICT OF CALIFORNIA
  4                                                                          CC
                                                                   BY: ___________________ DEPUTY

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  9                            UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12 UNITED STATES OF AMERICA,                     Case No. LACR19-00642-VAP *
                                                  Case No. LACR20-00155-VAP
 13               Plaintiff,
 14         vs.                                   ORDER ON DEFENDANT’S
                                                  EX PARTE APPLICATION
 15 IMAAD SHAH ZUBERI,                            FOR ORDER SEALING
                                                  DOCUMENTS
 16               Defendant.
                                                  [UNDER SEAL]
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 28                                              Case No. LACR19-00642-VAP; LACR-20-00155-VAP
      ORDER ON DEFENDANT’S EX PARTE APPLICATION FOR ORDER SEALING DOCUMENTS
Case 2:19-cr-00642-VAP Document 276 Filed 11/13/20 Page 2 of 2 Page ID #:5281




  1         For the reasons stated in Defendant Imaad Shah Zuberi’s Ex Parte Application
  2 for Order to File Notice of Filing Under Seal, it is hereby ordered that:
  3         (1) the Application;
  4         (2) Under Seal Filing; and
  5         (3) this [Proposed] Order on Defendant’s Ex Parte Application for Order
  6         Sealing Documents
  7 shall be filed under seal until further order of this Court.
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  9   Dated: November 13, 2020
 10                                              HONORABLE VIRGINIA A. PHILLIPS
                                                 UNITED STATES DISTRICT JUDGE
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                                                 Case No. LACR19-00642-VAP; LACR-20-00155-VAP
      ORDER ON DEFENDANT’S EX PARTE APPLICATION FOR ORDER SEALING DOCUMENTS
